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                 EXHIBIT B
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Reg. No. 7,097,155          Walkme Ltd. (ISRAEL LIMITED LIABILITY COMPANY)
                            10 Haumanim Street
Registered Jul. 04, 2023    Tel Aviv, ISRAEL 6789730
Int. Cl.: 9, 35, 42         CLASS 9: Downloadable computer software for assisting a user by providing real time
                            guidance and performance and execution tools for assisting with the concurrent
Service Mark                navigation, execution and operation of other software and website features and
Trademark                   functions; Downloadable computer software for assisting a user by providing real time
                            guidance and performance and execution tools for others for navigating and
Principal Register          accomplishing particular tasks on websites, software, and internet platforms, such as the
                            interactive creation of online instructional guides to accomplish those tasks;
                            Downloadable computer software for manipulating and changing display of a website to
                            introduce interactive elements, widgets, tool-tips and textual information;
                            Downloadable computer software for manipulating and changing display of software to
                            introduce interactive elements, widgets, tool-tips and textual information;
                            Downloadable computer software in the nature of web-browser extension for modifying
                            websites and web documents; Downloadable computer software for composing and
                            editing automation rules and digital walkthroughs for a website and software;
                            Downloadable computer chatbot software for simulating conversations and for
                            performing actions based on user instructions; Downloadable augmented reality
                            software for providing augmented reality display related to website and software usage
                            guidance; Downloadable computer software for receiving messages and displaying
                            notifications relating to employees

                            FIRST USE 2-11-2020; IN COMMERCE 2-11-2020

                            CLASS 35: Compiling and analyzing statistics, data and other sources of information
                            for business purposes; Monitoring usage of computer software and websites for business
                            purposes; Business data analysis services in the field of employee training, employee
                            productivity, employee onboarding and customer onboarding; Business process
                            discovery service, namely, automatically identifying frequent business processes
                            performed by users; Business monitoring and business consulting services, namely,
                            tracking web sites and applications of others to provide business strategy and business
                            advice regarding marketing, sales, operations or product design, namely, using analytic
                            and statistic models for the understanding and predicting of consumers, businesses, and
                            market trends and actions; conducting business surveys; conducting employee surveys
                            for others for purposes of improving employee performance, productivity, and adoption
                            of suggested workplace features based on employee feedback

                            FIRST USE 2-11-2020; IN COMMERCE 2-11-2020
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                   CLASS 42: Providing temporary use of on-line non-downloadable software for assisting
                   a user by providing real time guidance and performance and execution tools for
                   assisting with the concurrent navigation, execution and operation of other software and
                   website features and functions for website development and software application
                   development; providing temporary use of on-line nondownloadable software for
                   assisting a user by providing real time guidance and performance, and execution tools
                   for others for navigating and accomplishing particular tasks on websites, software, and
                   internet platforms, such as the interactive creation of online instructional guides to
                   accomplish those tasks; providing temporary use of on-line non-downloadable software
                   for manipulating and changing display of a website to introduce interactive elements,
                   widgets, tool-tips and textual information; providing temporary use of on-line non-
                   downloadable software for manipulating and changing display of software to introduce
                   interactive elements, widgets, tool-tips and textual information; providing temporary use
                   of on-line non-downloadable software for tracking user engagement, user productivity,
                   efficiency and adoption of features, in software and on a website; computer services for
                   the analysis of data, namely, technological analysis of execution of multiple separate
                   web-sites and applications, for the purpose of tracking cross-platform activity of users;
                   providing temporary use of on-line nondownloadable chatbot software for simulating
                   conversations and performing actions based on user instructions; providing temporary
                   use of on-line non-downloadable software for recording user activity on an application,
                   a website, or a combination thereof, and for displaying recorded activities to authorized
                   users; providing temporary use of on-line non-downloadable software for providing
                   augmented reality display related to usage guidance; providing temporary use of on-line
                   non-downloadable software for using Application Programming Interface (API) for
                   providing reports using third-party software and for activation functionalities in third-
                   party software

                   FIRST USE 2-11-2020; IN COMMERCE 2-11-2020

                   The mark consists of the terms "walk" and "me" with "me" being inside a conversation
                   bubble with background that is inverse of text.

                   OWNER OF U.S. REG. NO. 6286016

                   SER. NO. 97-351,403, FILED 04-07-2022




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

   WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
          DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


Requirements in the First Ten Years*
What and When to File:


    • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
       years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
       registration will continue in force for the remainder of the ten-year period, calculated from the registration
       date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


    • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
       for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

    • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
      between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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